Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 1 of 11 Page ID #:5744




  1   JAN STIGLITZ (SBN 103815)                  BRETT A. BOON (SBN 283225)
  2   LAW OFFICE OF JAN STIGLITZ                 brett@boonlawoffice.com
      14462 Garden Trail                         BOON LAW
  3   San Diego, CA 92127                        411 Camino Del Rio S, Suite 106
  4   Tel.: (619) 801-5890                       San Diego, CA 92108
                                                 T: (619) 358-9949
  5                                              F: (619) 365-4926
  6
      CRAIG S. BENNER (SBN 283913)               ALEXANDER J. SIMPSON
  7
      craig@bennerlawfirm.com                    (SBN 235533)
  8   BENNER LAW FIRM                            ajs@cwsl.edu
      411 Camino Del Rio S, Suite 106            225 Cedar St.
  9
      San Diego, CA 92108                        San Diego, CA 92101
 10   T: (619) 595-6795                          T: (619) 515-1525
      F: (619) 595-6796                          F: (619) 615-1425
 11
 12   Attorneys for Plaintiff LUIS
      LORENZO VARGAS
 13
                             UNITED STATES DISTRICT COURT
 14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 15
 16
 17   LUIS LORENZO VARGAS,                         Case No. 2:16-cv-08684-SVW-AFM

 18                                     Plaintiff, PLAINTIFF’S REPLY IN
                                                   FURTHER SUPPORT OF
 19                v.                              MOTION TO PERMIT EXPERT
                                                   TESTIMONY
 20   CITY OF LOS ANGELES; LOS                     HON. STEPHEN V. WILSON
 21   ANGELES POLICE
      DEPARTMENT; COUNTY OF LOS                    CTRM 10A
 22   ANGELES; OFFICE OF THE LOS
      ANGELES DISTRICT ATTORNEY;                   Hearing Date:    June 10, 2019
 23   LOS ANGELES SHERIFF’S
      DEPARTMENT; MONICA                                            1:30 pm
 24   QUIJANO; RICHARD TAMEZ;                      Complaint Filed: November 12, 2016
      SCOTT SMITH; AND DOES 1-10                   Trial Date:      June 25, 2016
 25   INCLUSIVE,

 26                                  Defendants.

 27
 28
       Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 2 of 11 Page ID #:5745




  1         TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
  2   RECORD, PLEASE TAKE NOTICE THAT Plaintiff LUIS LORENZO VARGAS,
  3   by and through his counsel, hereby submits this Reply in Further Support of Plaintiff’s
  4   Court-Ordered Briefing to Permit Expert Testimony.
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
       Mr. Vargas’s Reply in Support of Motion
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 3 of 11 Page ID #:5746




  1         I. INTRODUCTION
  2           Defendants’ Opposition is fatally flawed for a myriad of reasons, most
  3   important of which is the fact that Defendants wholly refuse to acknowledge
  4   controlling Ninth Circuit authority directly pertaining to the issue of expert
  5   admissibility in this case, let alone address it or offer counter-authority, and thus
  6   concede that such authority indeed permits expert testimony.
  7           To be clear – 1) Defendants’ Opposition refuses to address controlling, directly
  8   applicable Ninth Circuit authority in Susan Mellen v. Marcella Winn as it relates to
  9   Mr. Clark; 2) refuses to address the plethora of Plaintiff’s proffered authority
 10   supporting the admissibility of Mr. Hermansen’s opinions; and, 3) refuses to address
 11   Plaintiff’s proffered argument, authority, and explanation regarding the timeliness of
 12   expert disclosures. Defendants’ fatal failures are tantamount to concessions on these
 13   issues, and warrant the granting of Plaintiffs’ Motion. See § III supra.
 14           Instead, Defendants spend a great of deal of time misrepresenting a discussion
 15   with the Court as well as the procedural posture of this case. In a scant effort to
 16   address the substantive merits that Plaintiff’s briefing sets forth, Defendants merely
 17   assert conclusory arguments based on selective quotations from Plaintiff’s proffered
 18   expert reports.
 19           In the face of Plaintiff’s extensive, legally supported, and procedurally proper
 20   Motion and expert disclosures, Defendants’ conclusory Opposition must be
 21   disregarded as it cannot meet the threshold requirements to exclude permissible expert
 22   testimony.
 23   ///
 24   ///
 25   ///
 26                                              -1-
 27    Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 4 of 11 Page ID #:5747




  1         II. RELATIVE        PROCEDURAL            POSTURE         AND       TIMELINESS           OF
  2                PLAINTIFF’S DISCLOSURES
  3            At no point in time has there been a formal, Federal Rules of Civil Procedure
  4   (“FRPC”), Rule 26 Scheduling Order in this case. On April 15, 2019, the Court set the
  5   first trial date of June 25, 2019.
  6            As a result, Defendants’ initial argument that Plaintiff should have disclosed his
  7   experts more than ninety days prior to trial cannot be dispositive of the timeliness
  8   issue because based on the trial setting just more than sixty days from the April 15th
  9   Status Conference, such a deadline was logistically impossible to meet. Plaintiff’s
 10   experts diligently worked to finalize their reports for disclosure as soon thereafter as
 11   was reasonable, and advised Defendants that they would make themselves reasonably
 12   available for deposition.
 13            Further, Defendants’ Motion refuses to address the various factors that have
 14   been enumerated for consideration when deciding whether such disclosures are
 15   timely. These include, but are not limited to, whether disclosures that do not meet the
 16   aforementioned ninety-day period were “substantially justified or harmless.” Rutter
 17   Guide Federal Civil Procedure at 11:451; See also Morel v. Daimler-Chrysler Corp.,
 18   259 FRD 17 (D PRE 2009). Plaintiff’s disclosures qualify as both.
 19            Considerations on this issue include, but are not limited to, whether the
 20   opposing party is aware of the undisclosed information [See Wilson v. Superclub
 21   Ibiza, LLC, 931 F. Supp.2d 61, 63 (D DC 2013)], whether the opposing party has the
 22   opportunity to depose the experts 1 [See Wilson Road Develop. Corp. v. Fronabarger
 23   1
        Following the disclosure of Plaintiff’s experts, counsel reached out to Defendants to inquire
 24   whether Defendants would seek to take their depositions and offered to make the experts reasonably
      available for deposition. Defendants responded that they would not take any such depositions prior
 25   to the Court’s ruling on the instant briefing, thus further undermining any prejudice caused by the
      timing of Plaintiff’s disclosure. See Boon Decl. at ¶ 3.
 26                                                 -2-
 27       Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 5 of 11 Page ID #:5748




  1   Concreters, Inc., 971 F.Supp.2d 896, 903-904 (ED MO 2013)], and whether any
  2   contention of nondisclosure was a result of factors outside the scope of the proffering
  3   party’s control.
  4            Each of these factors are met for purposes of Plaintiff’s disclosures. As a result,
  5   there is no prejudice to Defendants. It follows that the Court’s discretionary analysis
  6   on the issue should find that Plaintiff’s disclosure, even if untimely, were nonetheless
  7   harmless and/or substantially justified, and therefore cannot provide a basis for
  8   exclusion. Barrett v. Atlantic Richfield Co., 95 F3d 375, 380 (5th Cir. 1996). 2
  9            Finally, Defendants’ statement that the Court advised that experts are improper
 10   in this case is a red herring because it only partially captures the Court’s discussion on
 11   the issue. At the conclusion of the hearing, the Court confirmed that Plaintiff was
 12   permitted to offer briefing on the issue of expert admissibility. Thus, for Defendants
 13   to contend that any such decision or order was made with finality at that hearing is a
 14   misrepresentation of the proceeding. 3
 15         III.   ARGUMENT IN RESPONSE TO DEFENDANTS’ OPPOSITION
 16            In reviewing Defendants’ Opposition, it is readily apparent that Defendants
 17   either failed to diligently scrutinize Plaintiff’s proffered expert reports in light of
 18   controlling authority or, in the alternative, did so and decided not to respond to
 19   Plaintiff’s substantive arguments because Defendants concede that the experts are
 20   permissible. In either event, Defendants Opposition fails to establish why Plaintiff’s
 21   proffered experts should be excluded from testifying in this trial.
 22
 23
 24   2
        See § V(e) of Plaintiff’s Motion for a more in-depth analysis of these issues. Consistent with much
      of Defendants’ Opposition, Defendants do not address any of the pertinent authority or enumerated
 25   factors.
      3
        See Plowden Decl., EX 1 at Pg. 18:14-22.
 26                                                  -3-
 27       Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 6 of 11 Page ID #:5749




  1      a. Mr. Hermansen’s Expert Opinions Are Not Offered on Ultimate Legal
  2            Issues, and Therefore are Permissible
  3            Defendants’ sole argument for excluding Mr. Hermansen appears to be that his
  4   opinions allegedly touch on aspects of supposed “ultimate issues” in this case. As
  5   explained in Plaintiff’s initial Motion and again here, this argument is both legally and
  6   factually unsupported.
  7            The ultimate issue to be decided by a jury in this case is whether the defendant
  8   police officers violated their Brady obligations and as a result violated Plaintiff’s
  9   Constitutional right to a fair trial. Mr. Hermansen does not opine on this ultimate
 10   issue.
 11            However, within this consideration are sub-issues of whether the defendant
 12   officers knew or should have known about the information, whether it was in fact
 13   withheld, whether it was potentially material or exculpatory to Plaintiff’s criminal
 14   proceeding, and whether the officers’ withholdings violated or failed to meet their
 15   professional obligations and duties; among others. These are the sub-issues that Mr.
 16   Hermansen opines on, not the ultimate issue of whether in fact a Brady violation
 17   occurred in violation of Plaintiff’s Constitutional rights, which is reserved for the trier
 18   of fact.
 19            Defendants’ authority is not persuasive nor supportive of their argument in light
 20   of the facts of this case. The Halcomb v. Wash. Metro. Area Transit Auth., 526 F.
 21   Supp. 2d 24, 2007 U.S. Dist. LEXIS 89674 decision does not address reasonableness
 22   as Defendants contend because there, the proffering party agreed that such opinions
 23   would not be offered and therefore no decision was made on the issue. Instead, the
 24   Court held that expert opinions should be based on some objective standard and
 25   should not opine on credibility. Such issues are not presently before the Court.
 26                                              -4-
 27    Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 7 of 11 Page ID #:5750




  1         Likewise, United States v. Binder, 769 F.2d 595, 602 (9th Cir. 1985) provides
  2   that experts should not be permitted to testify on credibility issues, and even such was
  3   later overruled. The Court in United States v. Arenal, 769F.2d 263, 269 (8th Cir. 1985)
  4   concluded that expert testimony on what an opposing party subjectively understood
  5   was impermissible because that is a question for the trier of fact. Neither of Plaintiff’s
  6   experts offer testimony on credibility nor the subjective understanding of the
  7   defendants, eliminating both of these lines of authority from providing a basis to
  8   exclude the expert opinions at issue.
  9         Cited by Defendants for the general admissibility test of expert testimony,
 10   United States v. Gwaltney, 790 F.2d 1378, 1381 (9th Cir. 1986) in fact supports the
 11   arguments made in Plaintiff’s Motion because it holds that “criticism of the
 12   application of a valid test in a particular instance bears on weight, not admissibility.”
 13   Id.
 14         Next, Wisler v. City of Fresno, 2008 U. S. Dist. LEXIS 73223, *13, 2008 WL
 15   2880442 specifically and narrowly discusses an expert opinion in an excessive force
 16   case that defendants acted “with deliberate indifference.” Here, not only is this a
 17   wrongful conviction case differing factually and legally from that of excessive force,
 18   but Plaintiff’s proffered experts do not offer such an opinion, undermining any
 19   applicability of this case.
 20         Finally, both Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998 (9th
 21   Cir. 2004) and Provencio v. Vazquez, 2010 U.S. Dist. LEXIS 59731 discus factually
 22   distinguishable cases and stand merely for the general proposition that an expert
 23   opinion may not explicitly instruct a jury how to rule on an ultimate issue. Because
 24   Plaintiff’s proffered experts opine on issues underlying, relating to, and/or assisting
 25
 26                                              -5-
 27    Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 8 of 11 Page ID #:5751




  1   the trier of fact in making preliminary decision but stop short of advising the jury on
  2   the ultimate issue, this authority is equally unsupportive of exclusion.
  3         Alternatively, and as set forth in Plaintiff’s Motion, the Ninth Circuit has
  4   previously ruled that an otherwise admissible opinion is not objectionable simply
  5   because it embraces an ultimate issue to be decided by the trier of fact. FRE, R.
  6   704(a); See Mellen, See also Mukhtar v. California State Univ, Hayward, 299 F3d
  7   1053, 1065 (9th Cir. 2002); Oakland Oil Co. v. Conoco Inc., 144 F3d 1308, 1328 (9th
  8   Cir. 2014). Defendants’ Opposition fails to address this line of authority.
  9         Further, Courts have routinely allowed expert testimony in civil rights cases
 10   concerning the “the elements of plaintiff’s fair trial claims” reasoning that “it would
 11   be improper to exclude such evidence.” Martin Nnodimele v. Donal Derienzo, 2016
 12   WL 3561708 (E.D. NY 2016).
 13         Relying on this, the Nnodimele Court permitted plaintiff’s police practices
 14   expert, ruling that patrol guide or officer conduct evidence is admissible because the
 15   Court “agrees and joins a growing number of courts holding that ‘[i]n constitutional
 16   tort cases, expert testimony regarding sound professional standards governing a
 17   defendant’s actions can be relevant and helpful. Jimenez v. City of Chicago, 732 F.3d
 18   710, 721 (7th Cir. 2013). As the Seventh Circuit has explained in a recent case
 19   affirming the district court’s decision to admit such testimony in a trial of Brady claim
 20   under § 1983, ‘[the expert’s] testimony thus would have helped the jury conclude that
 21   the departure from reasonable police practices were so important, severe, and
 22   numerous that they supported an inference that defendant acted deliberately to violate
 23
 24
 25
 26                                              -6-
 27    Mr. Vargas’s Reply in Support of Motion

 28
Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 9 of 11 Page ID #:5752




  1   plaintiff’s rights.’ Citing to Jimenez v. City of Chicago, 732 F.3d 710, 721 (7th Cir.
  2   2013). Relevant patrol guide evidence is therefore admissible.” Nnodimele at *14. 4
  3            Finally, Defendants have asserted in no fewer than three to four briefs in this
  4   case their position that third-party culpability evidence would have allegedly been
  5   inadmissible at Plaintiff’s criminal trial, and thus evidence of such now is likewise
  6   inadmissible. This argument has been addressed each time by Plaintiff and ruled by
  7   this Court to not provide any bar from such evidence in the instance case. Therefore,
  8   Defendants’ argument in this argument is one that is re-raised and equally
  9   inapplicable to the instant Motion.
 10         b. Defendants Fail to Address Mr. Clark’s Expert Report or Directly
 11            Controlling Ninth Circuit Authority and Therefore Concede that His
 12            Testimony is Permissible
 13            Although Defendants spend a great deal of time arguing the admissibility of
 14   Mr. Hermansen’s expert opinions, they spend little to no time discussing Plaintiff’s
 15   second expert, Mr. Roger Clark. Mr. Clark’s opinions are admissible and do not offer
 16   conclusions on ultimate issues of fact.
 17            Importantly, the Ninth Circuit has previously ruled that to exclude Mr. Clark’s
 18   opinions on Brady issues is reversible error, which Defendants concede by refusing to
 19   address it in their Opposition. See Susan Mellen v. Marcella Winn, 9th Cir. Case No.
 20   17-55116 at Dkt. No. 43-1 (9th Cir. 2018). Plaintiff’s Motion does not merely cite to
 21   Mellen in passing, but dedicates an entire section and more than three full pages of
 22   argument detailing its importance and analogous nature to the admissibility of Mr.
 23   Clark’s opinions. Motion at § V(c).
 24
      4
        For the sake of convenience and to avoid duplicity, Plaintiff incorporates the analogous argument
 25   relating to Nnodimele in full into the following section discussing the admissibility of Mr. Clark’s
      opinions as well.
 26                                                 -7-
 27       Mr. Vargas’s Reply in Support of Motion

 28
 Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 10 of 11 Page ID
                                  #:5753



1          Moreover, after Plaintiff submitted his Motion and prior to the deadline for
2    Defendants’ Opposition, counsel for all parties met and conferred in person. At thist
3    meeting, Plaintiff’s counsel again reiterated the importance of the Mellen decision and
4    its controlling nature. In response, counsel for Defendants even went so far as to
5    confirm that the pertinent decision was attached as an exhibit to Mr. Boon’s
6    Declaration supporting Plaintiff’s Motion. See Boon Decl. at ¶ 4.
7          Nevertheless, Defendants Motion does not address Mellen nor its controlling
8    decision at any point, thus conceding its applicability. Plaintiff’s proffer that
9    Defendants should be estopped from arguing in the alternative in the future due to a
10   waiver of the right to do so, including oral argument on the instant Motion.
11   ///
12   ///
13   ///
14   ///
15   ///
16   ///
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26                                              -8-
27    Mr. Vargas’s Reply in Support of Motion

28
 Case 2:16-cv-08684-SVW-AFM Document 214 Filed 05/27/19 Page 11 of 11 Page ID
                                  #:5754



1          IV.    CONCLUSION
2             Based on the foregoing as well as the arguments set forth in Plaintiff’s Motion,
3    both Messrs. Hermansen and Clark should be permitted to offer expert testimony at
4    trial, and to hold otherwise is potentially reversible error. 5
5
     DATED: May 27, 2019                                LAW OFFICES OF JAN STIGLITZ
6
                                                        /s/ Jan Stiglitz
7                                                       Jan Stiglitz, Esq.
                                                        Attorney for Plaintiff
8                                                       Luis Lorenzo Vargas
9    DATED: May 27, 2019                                BOON LAW
10                                                      /s/ Brett A. Boon
11                                                      Brett A. Boon, Esq.
                                                        Attorney for Plaintiff
12                                                      Luis Lorenzo Vargas

13   DATED: May 27, 2019                                BENNER LAW FIRM
14                                                      /s/ Craig S. Benner
15                                                      Craig S. Benner, Esq.
                                                        Attorney for Plaintiff
16                                                      Luis Lorenzo Vargas

17   DATED: May 27, 2019                                ALEXANDER J. SIMPSON, ESQ.

18                                                      /s/ Alexander J. Simpson
                                                        Attorney for Plaintiff
19                                                      Luis Lorenzo Vargas
20
21   5
       Timeliness of this Reply: In the event Defendants contend that this Reply is late because it is filed
     on a holiday, such an argument is legally unsupported. According to the Rutter Guide: Federal Civil
22   Procedure Before Trial at § 12:102.7, “where local rule measures time backwards from the hearing
23   date, it is uncertain whether the FRCP 6(a)(3) extension until the ‘next day’ means the day preceding
     or the day following the legal holiday. (For example, where local rule requires service and filing of
24   opposition papers 17 days before the hearing date, and that day is a Sunday, whether the ‘next day’
     is the preceding Friday or the following Monday.) There is no known authority on point.”
25            Thus, an in abundance of caution, Plaintiff submits the instant briefing on the legal holiday,
     which is the date on which the briefing would be due but for the Memorial Day holiday.
26                                                   -9-
27       Mr. Vargas’s Reply in Support of Motion

28
